  
 

l

NEL`DRDING INDUSTRV

 

ASSU

L`eATIUN
AM ICA

Case 1:18-mC-00065-UNA Document 1 Filed 05/08/18 Page 1 of 4

FILED
MAY - s 2013

C|erk. U. S D|str|ct & Bankruptcy
Courts for the Dlstnct of Columbla

  

Case: 1:18-mc-00065

VIA ELECTRONIC MAIL Assigned To : Unassigned
Assign. Date : 5/8/2018
May 8, 2018 Description: Misc.

Tonic Domains Corp.
P.O. Box 42
San Quentin, CA 94964

Dear Sir or Madam:

l am contacting you on behalf of the Recording Industry Association of America, lnc.
(RIAA) and its member record companies The RIAA is a trade association whose
member companies create, manufacture and distribute approximately eighty-five (85)
percent of all legitimate sound recordings sold in the United States.

We have determined that a user of your system or network has infringed our member
record companies’ copyrighted sound recordings

Enclosed is a subpoena compliant with the Digital Millennium Copyright Act. The
subpoena requires that you provide the RIAA with information concerning the individual
offering infringing material described in the attached notice.

As is stated in the attached subpoena, you are required to disclose to the RIAA
information sufficient to identify the infringer. This would include the individual’s name,
physical address, IP address and e-mail address.

Thank you for your cooperation in this matter. If you have any questions please feel free
to contact me via email at antipiracy@riaa.com, via telephone at (202) 775-0101, or via
mail at RIAA, 1025 F Street N. W., lOth Floor, Washington, D.C., 20004.

Sincerely,/
._ . , y
W(/ R E C E IV E D
MAY - 8 2018
Mark McDevitt
Vice President, Online Anti-Piracy Cl€!’k U 5- D'$U" f a'"

Bankruotcv iourf§

RECURDINE INDU$TR¥ d$$o€ldTIoN UF AMERIL‘A
lOZ§FSTREET,NW,lOTH FLOOR,WASH|NGTON,DC 20004
PHONE 202 775 0101 FAX 202 775 7253 WEB www r\aa tom

RECDRDING INDUSTRV

ASSD

All‘l

Case 1:18-mC-00065-UNA Document 1 Filed 05/08/18 Page 2 of 4

   
 

  

   
 
  

E{ATION
ICA

le ELECTRONIC MAIL
May 3, 201 s

Tonic Domains Corp.
P.O. Box 42
San Quentin, CA 94964

Dear Sir or Madam:

I am contacting you on behalf of the Recording Industry Association of America, Inc.
(RIAA) and its member record companies. The RIAA is a trade association whose
member companies create, manufacture and distribute approximately eighty-five (85)
percent of all legitimate sound recordings sold in the United States. Under penalty of

perj ury, we submit that the RIAA is authorized to act on behalf of its member companies
on matters involving the infringement of their sound recordings, including enforcing their
copyrights and common law rights on the lnternet.

We have learned that your service is hosting the below-referenced domain on its network.
The website associated with this domain is offering files containing sound recordings
which are owned by one or more of our member companies and have not been authorized
for this kind of use, including without limitation those referenced at the URL(s) below.
We have a good faith belief that this activity is not authorized by the copyright owner, its
agent, or the law. We assert that the information in this notification is accurate, based
upon the data available to us.

We ask that you consider the widespread and repeated infringing nature of the site
operator(s)' conduct, and whether the site(s)' activities violate your terms of service
and/or your company's repeat infringer policy.

This e-mail does not constitute a waiver of any right to recover damages incurred by
virtue of any such unauthorized activities, and such rights as well as claims for other
relief are expressly retained. In addition, our use of your service's required notice form, if
applicable, is merely meant to facilitate removal of the infringing material listed below
and is not meant to suggest or imply that your activities and services are within the scope
of the DMCA safe harbor.

RECDRDING INDUSTRY AS$DCIAT[UN 0F AMERICA
lOZSFSTREET,NW/]OTH FLOOR,WASH|NGTON,DC 20004
PHONE 202 775 0101 FAX 202 775 7253 WEB Www riaa Com

Case 1:18-mC-00065-UNA Document 1 Filed 05/08/18 Page 3 of 4

You may contact me at RIAA, 1025 F Street N.W., 10th Floor, Washington, D.C., 20004,
Tel. (202) 775-0101, or e-mail antipiracy@riaa.com, to discuss this notice. Thank you
for your assistance in this matter.

SincerelyM

ark McDevitt
Vice President, Online Anti-Piracy

M://srv?.voutubemo$.to/download.phD?output=NzEONszMS8xNTl1Nzl1Micl
J. Geils Band - Centerfold

htt ://srle. outubem 3.t0/d0wnload. h ?out ut=MTM MT|WNDOvMTU NTc NTAll\/|A==
New Kids on The Block - Step By Step

 

htt ://srv8. outubem 3.to/d0wnload. h ?out ut=OD OOD xNS8xNT|1Nz|1NDE1
Nu Shooz - | Can’t Wait

 

Case 1:18-mC-00065-UNA Document 1 Filed 05/08/18 Page 4 of 4

DECLARATION OF MARK McDEVITT

)
THE DISTRICT OF COLUMBIA ) s.s.:

)

I, Mark McDevitt, the undersigned, declare that:

l. I am a Vice President, Online Anti-Piracy for the Recording Industry Association of
America, Inc. (RIAA). The RIAA is a trade association whose member companies create,
manufacture or distribute sound recordings The RIAA is authorized to act on its member
companies’ behalf on matters involving the infringement of their copyrighted video and sound
recordings

2. The RIAA is requesting the attached proposed subpoena that would order Tonic Domains
Corp. disclose the identity, including name, physical address, e-mail address and IP address, of
the user operating at the following domain:

Youtubemp3 .to

3. The purpose for which this subpoena is sought is to obtain the identity of the individual
assigned to this domain who has reproduced and has offered for distribution our members’
copyrighted sound recordings without their authorization This information will only be used for
the purposes of protecting the rights granted to our members, the sound recording copyright
owner, under Title II of the Digital Millennium Copyright Act.

l declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct to the best of my knowledge, information or belief.
Executed at Washington, District of Columbia, on May 8, 2018.

Mark`M¢De\/iu

 

